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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America

       v.                                  Case No. 2:03-cr-213-3

Chaz Frier

                             OPINION AND ORDER
       By judgment entered on April 3, 2006, defendant was sentenced
to a term of incarceration of twenty-five years on Count 4 of the
indictment, which charged him with using, brandishing or carrying
a firearm during a crime of violence in violation of 18 U.S.C.
§924(c)(1)(A)(ii).       The sentence imposed was agreed to by the
parties in a plea agreement entered into under Fed. R. Crim. P.
11(c)(1)(C).      On October 6, 2020, defendant filed a motion for
compassionate      release    from     imprisonment      under     18    U.S.C.
§3582(c)(1)(A).      See Doc. 229.      Defendant cited his advancements
towards rehabilitation through continuing education and expressed
remorse for his actions.        He asserted that he would like to help
look after his father, who is on dialysis and has survived COVID-
19.    Defendant also requested that counsel be appointed to assist
him.        Counsel was appointed to represent the defendant, and
defendant’s motion for appointment of counsel is moot. On December
21, 2020, counsel filed a notice stating that he would not be
supplementing defendant’s motion.          See Doc. 231.       On January 11,
2020, the government filed a response to defendant’s motion,
arguing that defendant’s motion should be dismissed for failure to
exhaust administrative remedies.         Doc. 233.
       Under §3582(c)(1)(A)(i), a motion for reduction in sentence
for “extraordinary and compelling reasons” can be filed with the
court if the defendant has exhausted his administrative remedies.
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If the defendant presents his request to the warden and receives no
response within thirty days, he may then file a motion in the
district court.         See United States v. Daniels, No. 4:08-CR-0464-
SLB, 2020 WL      1938973 at *2-3 (N.D. Ala. Apr. 22, 2020); Guzman v.
United States, No. 2:10-CR-161, 2019 WL 1966106, at *2 (E.D.Tenn.
May 2, 2019).         This exhaustion requirement is not jurisdictional,
but   is    a   mandatory     condition     which      must    be   enforced     if   the
government timely objects to the failure to exhaust. United States
v. Alam, 960 F.3d 831, 833-834 (6th Cir. 2020).                     Defendant has not
alleged that he has exhausted his administrative remedies, nor has
he submitted evidence establishing exhaustion.
        The court denies defendant’s motion for compassionate release
under      §3582(c)(1)(A)(i)        (Doc.       229)   without      prejudice.        The
defendant       may   renew   his    motion       after   he     has   exhausted      his
administrative remedies.


Date: January 12, 2021                     s/James L. Graham
                                    James L. Graham
                                    United States District Judge




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